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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA




  UNITED STATES OF AMERICA
  ex rel. ROLAND MORE,                                       CASE NO. 14-CV-23375-
                   Plaintiff,                                WILLIAMS/SIMONTON

  VS.

  TENET HEALTHCARE CORPORATION,
                 Defendant.
                              /
    PLAINTIFF/RELATOR'S MOTION FOR VOLUNTARY DISMISSAL WITHOUT
                             PREJUDICE

          Plaintiff/Relator, Roland More, by his undersigned counsel and pursuant to F.R.C.P 41
  (a)(1)(i), hereby files this Motion for Voluntary Dismissal without Prejudice.


                                                             Respectfully submitted,

                                                             Mark J. Berkowitz, P.A.
                                                             Attorney for Plaintiff
                                                             800 S.E. Third Avenue
                                                             Suite 400
                                                             Ft. Lauderdale, Florida 33316
                                                             (954) 527-0570 Telephone
                                                             (954) 767-0483 Telecopier
                                                             E-Mail: mjb2l57kao1.com.
                                                             Fla. Bar No. 369391


                                                             Is! Mark J. Berkowitz
                                                             By: Mark J. Berkowitz




                                     CERTIFICATE OF SERVICE
                I hereby certify that a true and correct copy of the foregoing was sent by the
         Court's electronic filing system, CMIECF, on this 4th day of May, 2015, Susan Torres,


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        Assistant U.S. Attorney for the Southern District of Florida, 99 N.E. 4th Street, Third
        Floor, Miami, Florida 33132.



                                                          /s/ Mark J. Berkowitz
                                                          By: Mark J. Berkowitz




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